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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JAMES PRINCIPE,                                    )
                                                   )
       Plaintiff,                                  )
                                                   )          Case No. 20 cv 01545
       v.                                          )
                                                   )          Honorable Manish S. Shah
VILLAGE OF MELROSE PARK, et al.,                   )
                                                   )
       Defendants.                                 )

                       PARTIES’ JOINT INITIAL STATUS REPORT

       Now COME Plaintiff, JAMES PRINCIPE, and Defendants, VILLAGE OF MELROSE

PARK, RONALD SERPICO, and CHRISTINE PIEMONTE, by and through their respective

undersigned counsel, and for their Joint Initial Status Report, state:

1.     The Nature of the Case

       a.      Identify the attorneys of record for each party, including the lead trial attorney.


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        Attorneys for Defendants

  b.    State the basis for federal jurisdiction.

        This Court has jurisdiction of the action pursuant to the Civil Rights Act, 42 U.S.C.
        § 1983, 28 U.S.C. §§ 1331, 1343, and the United States Constitution; it also has
        supplemental jurisdiction under 28 U.S.C. § 1367.

  c.    Describe the nature of the claims asserted in the complaint and any counterclaims.

        Count I alleges violation of the ADA against the Village of Melrose Park
        (“VOMP”); Count II is for retaliation under Title VII and the ADA against VOMP;
        Count III is an equal protection claim under 42 U.S.C. § 1983 against Mayor Ronald
        Serpico; Count IV alleging violation of the IHRA was dismissed pursuant to Doc.
        # 25; Count V is for violation of the Illinois Whistleblower Act, 740 ILCS 174/1,
        et seq. against all Defendants; Count VI based on violation of municipal code was
        dismissed pursuant to Doc. # 25; and Count VII seeks statutory indemnification as
        to VOMP.

  d.    State the major legal and factual issues anticipated in the case.

        Defendants deny that they have violated Plaintiff’s constitutional and statutory
        rights; it is Defendants’ position that VOMP had a non-discriminatory basis for
        Plaintiff’s termination.

  e.    Describe the relief sought by the plaintiff(s).

        Plaintiff is requesting reinstatement to his prior position or a substantially-similar
        position within the administrative offices of the Village of Melrose Park, back pay
        and back benefits for all losses connected with Plaintiff’s termination including
        losses to the value of his pension/retirement accounts, non-economic damages for
        emotional distress, pain, suffering, anguish, humiliation, loss of reputation, stigma,
        stigma-plus, and embarrassment resulting from his termination in excess of
        $100,000, payment of actual/compensatory damages, prejudgment interest,
        reasonable attorneys’ fees, expert witness fees, costs, and any other relief to make
        Plaintiff whole, including compensation for lost earning power.

        These damages are based on the facts and legal issues set forth in the Plaintiff’s
        First Amended Complaint. Plaintiffs reserve the right to amend his prayer for relief



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                and set forth additional damages as additional information becomes available
                during discovery.

2.     Pending Motions and Case Plan

       a.       Identify all pending motions.

                None.

       b.       Submit a proposal for a discovery plan, including the following information:

              i.        The general type of discovery needed;

                        In addition to the mandatory initial disclosures, the parties will conduct
                        written discovery, oral discovery, and third-party discovery via subpoena.

            ii.         Issues Related to Discovery of Electronically-Stored Information.

                        The Parties state that there are no issues relating to disclosure or discovery
                        of electronically-stored information (“ESI”). When ESI is responsive to a
                        discovery request or appropriately the subject of mandatory disclosure, and
                        it is not subject to any common law privilege, statutory privilege, or
                        otherwise protected from disclosure, the Parties agree that responsive ESI
                        will be provided by the producing party in a computer-readable electronic
                        format and the receiving party reserves the right to request that the
                        producing party provide hard copies of the ESI, with the receiving party
                        bearing the cost of any requested hard-copy production.

                        Defendants oppose third parties from having direct access to the VOMP
                        computer systems and records, and may seek entry of a Confidentiality
                        Order.

                        Counsel for Plaintiff’s sent two preservation requests to the VOMP’s
                        attorneys on or about January 30, 2020 and February 18, 2020. The
                        undersigned attorneys have not yet discussed these requests.

            iii.        Potential Discovery Problems.

                        Since the individual Defendants’ attorneys also serve as the general counsel
                        for the Village of Melrose Park, Plaintiff anticipates some discord between
                        the parties regarding certain documents designated as protected by attorney-
                        client privilege, attorney work product doctrine, government deliberative
                        process privilege, law enforcement investigatory privilege, common
                        interest privilege and other privileges by Defendants, which Plaintiff
                        contends are discoverable.




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                        Defendants do not believe that their representation by the undersigned
                        counsel in this matter will affect discovery. Defendants cannot take a
                        position concerning what may or may not be discoverable or what may or
                        may not be subject to any common law privilege, statutory privilege, or
                        otherwise protected from disclosure, as the parties have yet to engage in
                        discovery.

             iv.        A date for Rule 26(a)(1) disclosures;

                        October 6, 2020.

              v.        A date to issue written discovery;

                        October 20, 2020.

             vi.        A fact discovery completion date;

                        March 12, 2021.

            vii.        If there will be expert discovery, an expert discovery completion date,
                        including dates for the delivery of expert reports; and

                        The parties do not anticipate expert discovery at this time.

            viii.       A date for the filing of dispositive motions.

                        April 23, 2021.

       c.       With respect to trial, indicate whether a jury trial is requested and the probable
                length of trial.

                Plaintiff has requested a jury trial. The anticipated length of trial is five (5) days.

3.     Consent to Proceed Before a Magistrate Judge

       a.       Indicate whether the parties consent unanimously to proceed before a Magistrate
                Judge.

                The parties do not consent unanimously to proceed before a Magistrate Judge.

4.     Status of Settlement Discussions

       a.       Indicate whether any settlement discussions have occurred;

                Settlement discussions have not occurred.

       b.       Describe the status of any settlement discussions; and

                The parties have not engaged in settlement discussions.


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       c.     Whether the parties request a settlement conference.

              The parties do not request a settlement conference at this time.

              Plaintiff’s prayer for relief includes a proposal that this Court conduct a mediated
              settlement conference or refer the case to its court-annexed mediation program to
              assist the parties in bringing about a settlement of this case. Plaintiff remains open
              to settlement discussions and believes a settlement conference would be fruitful.




Respectfully submitted,

 By: /s/ Gina R. Scatchell*                          By: /s/ Joseph A. Giambrone

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